                            1:15-cv-01447-MMM # 65             Page 1 of 2
                                                                                                        E-FILED
                                                                       Friday, 12 August, 2016 10:40:44 AM
                                                                              Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT CODKT.URT
                 CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

SANDRA BROWN, LATRASHA JOHNSON,                         )
JERRI LINDSEY, and LAVI CONNER, on behalf               )
of themselves and a class of others similarly           )
situated,                                               )       Case No. 15-1447-MMM
                                                        )
        Plaintiffs,                                     )
                                                        )
                 v.                                     )
                                                        )
ANGELA LOCKE, et al,                                    )       Hon. Judge Mihm, Presiding
                                                        )
        Defendants.                                     )


                      RESPONSE TO COURT’S ORDER OF AUGUST 11, 2016

        Plaintiffs, by their undersigned counsel, hereby respond to the Court’s order of August

11, 2016:

        1.       In the Court’s order of August 11, 2016, this Court directed Plaintiffs to inform

the Court via a filing if it is their intention to pursue Plaintiffs’ motion for a protective order

(Dkt. No. 64).

        2.       Plaintiffs anticipate being able to resolve this issue, but the parties have not yet

had an opportunity to complete their discussions of the matter.

        3.       Accordingly, Plaintiffs respectfully ask this Court to permit them to withdraw

their motion for a protective order (Dkt. No. 64), with leave to refile in the future should the

parties not be able to reach agreement.



                                                        RESPECTFULLY SUBMITTED,

                                                        /s/ Ruth Brown
                                                        Attorneys for Plaintiffs
                         1:15-cv-01447-MMM # 65          Page 2 of 2




Arthur Loevy
Michael Kanovitz
Jon Loevy
Tara Thompson
Ruth Brown
LOEVY & LOEVY
312 North May Street, Suite 100
Chicago, IL 60607
(312) 243-5900




                               CERTIFICATE OF SERVICE

      I, Ruth Brown, an attorney, certify that on August 12, 2016, I caused the foregoing to be
served via the Court’s electronic filing system upon all counsel of record.

                                                   /s/ Ruth Brown




                                               2
